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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

Pennsylvania National Mutual Casualty
Insurance Company,
Petitioner
No.

Vv.

New England Reinsurance Corporation and
Hartford Fire Insurance Company,
Respondents

 

PENNSYLVANIA NATIONAL MUTUAL CASUALTY INSURANCE COMPANY’S
PETITION TO CONFIRM ARBITRATION AWARD

Petitioner, Pennsylvania National Mutual Casualty Insurance Company (“Penn
National”), hereby petitions this Court pursuant to the Federal Arbitration Act to confirm an
arbitration award. In support of this Petition, the Penn National avers the following:

1. Penn National and New England Reinsurance Corporation and Hartford Fire
Insurance Company (collectively “Hartford”) are parties to reinsurance agreements containing
arbitration provisions. (A true and correct copy of the reinsurance agreements are being
submitted under seal as Exhibit A.)

2. Pursuant to the arbitration provisions Penn National and Hartford submitted a
dispute arising under the reinsurance agreements to a panel of three arbitrators (““Panel’’) selected
in accordance with the arbitration provision.

3. As part of the arbitration process, the Panel entered a stipulated Confidentiality
Agreement and Protective Order governing the proceedings. (A true and correct copy of the

Confidentiality Agreement and Protective Order is being submitted under seal as Exhibit B.)

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4, The Confidentiality Agreement and Protective Order governs the use of
Arbitration Information as defined by the Confidentiality Agreement and Protective Order. (See
Exhibit B at 92.) All parties, with the concurrence of the Panel, have thus confirmed their
agreement and intention that the Final Award in this arbitration (and all Arbitration Information,
as defined) should remain private and confidential.

5. The reinsurance agreements, which were exchanged in discovery and were
exhibits in the arbitration proceedings, as well as the award are Arbitration Information under the
Confidentiality Agreement and Protective Order.

6. In the event of, inter alia, a petition to confirm the award issued by the Panel, the
arbitration the Confidentiality Agreement and Protective Order require filing Arbitration
Information under seal. ( See, Exhibit B at { 3.)

7. Penn National and Hartford agreed to a format for submitting the dispute to the
Panel, which included a discovery process, the submission of briefs, exhibits, depositions, and
authorities submitted by the parties, and a five day hearing at which documentary evidence was
received, and witnesses and argument of counsel were heard.

8. Following deliberation, the Panel issued an Award on March 17, 2018. (A true

and correct copy of the award is being submitted under seal as Exhibit C.)

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9. Penn National hereby petitions this Court to confirm the Panel’s Award of March

17, 2018.

WHEREFORE, Petitioner, Pennsylvania National Mutual Casualty Insurance Company,

respectfully requests that this Court confirm the Award of the arbitrators and enter judgment

thereon and for such other relief as the Court deems appropriate.

Dated: April 30, 2018

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Respectfully Submitted,

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